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     DANIEL L. HARRALSON, BAR NO. 109322
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 4
     Attorney for Defendant: MARCO NUNO SANTANA
 5
                                   UNITED STATES DISTRICT COURT
 6
                                  EASTERN DISTRICT OF CALIFORNIA
 7

 8
                                                      )
     UNITED STATES OF AMERICA,                        ) Case No.: 1:14-CR-271 LJO
 9                                                    )
                         Plaintiff,                   ) STIPULATION AND ORDER TO ALLOW
10           vs.                                      ) DEFENDANT MARCOS NUNO SANTANA
                                                      ) TO TRAVEL OUT OF TOWN
11   MARCOS NUNO SANTANA                              )
                                                      )
12                      Defendant.                    )
13
             TO THE CLERK OF THE UNITED STATES DISTRICT COURT AND TO THE
14
     HONORABLE JUDGE LAWRENCE J. O’NEILL;
15
             COMES NOW, Defendant MARCOS NUNO SANTANA, by and through his attorney
16
     of record, DANIEL L. HARRALSON hereby requesting that Defendant be allowed to travel to
17   Los Angeles, California on July 22, 2016 and return to Salinas, California on July 24, 2016, for
18   the purpose of attending a family Quinceanera.
19           This is a mutual agreement between myself, and Assistant United States Attorney Kathy

20   Servatius. This Stipulation and Proposed Order is submitted with the approval of Pretrial

21   Service Officer, Anthony Granados.
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                                  US v. Marcos Nuno Santana – 1:14-CR-271 LJO
                             STIPULATION AND ORDER RE: OUT OF TOWN TRAVEL
           Case 1:14-cr-00271-LJO-SKO Document 63 Filed 07/20/16 Page 2 of 2



 1   Dated: July 20, 2016                DANIEL L. HARRALSON LAW CORPORATION

 2                                       _____/S/_______________________________
                                         DANIEL L. HARRALSON
 3                                       Attorney for Marcos Nuno Santana

 4
     Dated: July 20, 2016
 5                                       _____/S/_______________________________
                                         KATHY SERVATIUS
 6
                                         Assistant United States Attorney
 7

 8

 9

10

11                                     ****** ORDER ******

12
            GOOD CAUSE APPEARING, Defendant, MARCOS NUNO SANTANA, may travel
13
     to Los Angeles, California between July 22, 2016 and returning to Salinas, California on July
14
     24, 2016.
15

16   IT IS SO ORDERED.
17
        Dated:    July 20, 2016                          /s/ Lawrence J. O’Neill _____
18                                              UNITED STATES CHIEF DISTRICT JUDGE

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                                 US v. Marcos Nuno Santana – 1:14-CR-271 LJO
                            STIPULATION AND ORDER RE: OUT OF TOWN TRAVEL
